Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 1 of 22




               E X H IB IT 16
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 2 of 22

                            ïA,ê,
                   C VC%*'*
                     '&
                                                  .y.-.g(.
                                                         jo                                                                Page1,of2
        -
            ,            (xN u                  Enterprise G uarantorSum m al
    <               '    u; )
                                           Guaran*r:COHEN,LAJUANA R (404225
                     W              PtinW at11/1m 013 1:17:22PM forGUTIERREZ YESENIA

            GuamntorDemœ raphla
            Name:                                                        Type:        Personal
                                                                                             /Famll
                                                                                                  y
                                                                         Servlce Area:UFIEALTH
            Address:



            MychartSt...IM
                         -I
                          '-GuarantordoesnotuseMychad.
            RA1a0r.M
                                                               Hospital                   Professional                        Total
                 Pr
                 U ebllled                                         0.00                            NA                          t-9n
                   ndislributed                                    020                            '
                                                                                                  n.00                         :.*
                 Insurance                                        ILBB                            t.K                          0.9:
                 Self-pay                                         0.00                            0.00                         0-*
             # BadDebt                                             8.0                               B2D                       9.09
                 6utstanding                                       '
                                                                   i.
                                                                    iô                               az
                                                                                                      ii                       :-e0

        Accounl
        '
            SelectAlI DeselectAI
                               l AccountActivl
                                             iies                                                     1 Cl
                                                                                                         osed           Show Detail
                                                                                                                                  s
                L AcctID          PalientName
                                            -    AcctStatus    Cl
                                                                ass Adm D...DisDate OisLocasi...
                                                                          -                                SP BaI           TotBal
                jrli
                   l;l                                         Oal
                                                                 pati..01/24/20130144/2013UMHG                  000 .          0.00
                            @                                  Otl*alL..()1Q4/201301/24/2013UMHG                0.00           ().
                                                                                                                                 t10
                                                               Outpati...10/25/201210/25/2012UMHG               ().($1)        9.%
                                                               Outpali...09/28/201208/28/2012UMHML              0.00           0.00
                            :                                 Outpati..0698201206/28/20121-1
                                                                                           M14C                 0.00           0.00
                                                              Oulpati...06/28901206/28/2012UMHC                 0.00           0.00
                                                              Outpati...(36/14/2G1286/14/2012UMHC               0.03           0.:0
                                                              Oulpatl
                                                                    ...04/24/201204/24/2012UMHC             0.00              0.00
                                                              Oulpati...04/24/201204/24/2012UMHC                0.00          0.00
                                                              Oucpali...04/24/20120494/2012UMHC                 0.0:          0.0ù
                                                              Butpalî...12/15201112/15/2D11UMHC             0.00              p.()()
                                                              Outpati...69/22/201109/22/2011UMHC            020               0.00
                           #                                  Oulpatl...69/2/201109/2/2011UMHCP             003 .             0.0û
                                                              Outpati...09/22/201109/22/2011UMHCP           0.00              0.00
            /
                                                      Iout
                                                         src)Otlpati..0-
                                                                       1/29/2û1107/29Q (j11MMHC             0.0p              0.00
                           @                                  Otllpat
                                                                    l...:7/29/20110:/29/2011UMHCP           0.00              000
                                                                                                                               .

                           YV                                 Outpali..07/29/201107/29/201!UQHCP            000 .             0.0û
                            V                                 Outpati 07/29/201107/2922011UMBCP
                                                                   ...                                      0.00              0,Qû


   filc://ciyDocum entsand ScttingsW llUsersW pplicationDatayEpicy14W ERSPACEïV7.9h... 11/12/2013
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 3 of 22

                                                                                              Page 2 of2


       T
       j-                                      oul
                                                 patl...                             ôct)
                                                                                      .           c.(1o
                                               Otllpatl...                           0.00         0.00
                                               Otlt
                                                  pali..                             0.00         ô.00
                                               Oulpa1l...                            e.00         0.0c
                                               Outpatl.
                                                      ..                             0.00         t).(j0
                                               OtI
                                                 tpetI.
                                                      ..                             n.00         p.0o
                                               Otltpali.
                                                       ..                            0.0ô         02n
                                               Outpatl...                            :.c()        û.(%

       Paymee -Hœ ph l

                                                                        C*     0*           ** *12/% 1

      PaymenK -Pof- l
                    onal

            * h rd                                                      ase   hs- ' o &1ym 1

      Adltebnents-Hœ >' 1



      Adjœe en: -Pmf- lonal
                                                                              a- -        n'X-
                                                                                             G
                                                                       (>     -     ' eiu &1M 1

      S1tem ents-E-ng
                    - l
                      pëse

      Shtem enî -POf- lonal




   file://ciïDocumcntsand SettingsW llUsersïApplicalion DataïEpicïI4YPERSPACEyV7,9ï... 11/12/2013
 Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 4 of 22



  UHEALTH
 University of Miami Health Systems
 P .O . B ox 402005
 Atlanta , GA 30384-2005
 Ph :
 Account                                                                                r n     r N m            & Address

 Visit ID

 Detailed Bill For
 Patient Name :
 Account Class:                                     Outpatlent                                          Admission Date :
 Attending Physician :                              CARPTNTERO , MARIA F .
                                                                                                                                          01/24/2013
                                                                                                        Discharge Date :                  01/24/2013
 Charges
 = = = == = == = = == = = == = = == = == = == == = == == = = = = == == = = == = == == = = = == = == = = == = == = == == == = == = == = =
  Service           Cost                  Rev . Proc .                            Description                                            Qty . Amount
  Date              Ctr.                  Code Code
 = = == = = == == = = == = = == = = == = == = = == = == = = = == = == = = ==
                                                                                         == = == = = == = == = = == = == = = == = == = = == = = == = =
Hospital Charges
  01/24/13 4030
  01/24/13 4030                           0636 130700636
                                          0636 130700636                        KETOROLAC 60 MG/ZML
                                                                                TRIAMCINOLONE       SOLN
                                                                                              ACETONIDE                                  4
                                                                                                                                         4          36 . 00
  01/24/13 1025                           0510 501700461                        HCHG CLINIC LEVEL 2 EST                                  1         123
                                                                                                                                                    42.  00
                                                                                                                                                       . 00

       Total hospital charges :                                                                                                                    201 . 00

Pa     en ts
  - - - - - - - - - - - - - - - - - - - - - - - -   = - . - =- -- M       - = =- -= = == = == - -   -   = = - -= =- -= == - - == = - -   - -- = - -- = -- -
  Post Date                                                 Rec       .    From                                                                    Amount
Hospital Pa              ents
 02 08 13                                                   MEDICA ID                                                                          -
                                                                                                                                                   372 .70
       Total hospital pa                     ents;                                                                                             -372 . 70

Adjustments
== = = == = = = == = = == = = =M = == = == = = = == = == = = = == == = = = == == = == = = == = == = = == = == = = == = =M = = * == = = ==
  Post Date                                          Adj. For                                                                   Amount
= = = == = = == = = == = = == = = == = == = = = == = == = = = == = == = = == == = == = = == = == = == = = == = = == = = == = == = = = == =

Hospital Adjustments
  01 31 13                                          M ED ICA ID
  02 08/13                                          MEDICAID                                                                    123.00         -

 02 09 13                                                                                                                                          297 .70
                                                           ADJUSTMENT                                                                               -3 . 00
       Total hospital adjustments:                                                                                                                 171.70

Total balance:                                                                                                                                       0 . 00
 Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 5 of 22



  UHEALTH
  University of Miami Hea1th Systems
  P .O . Box 402005
 Atlanta, GA 30384-2005
 Ph :
 Account ID                                                              Guarantor Name & Address




 Detailed Bill For
 Patient Name:
 Account Class :                                 Outpatient                                   Service Date From: 01/24/2013
 Attending Physician :
                                                                                              Service Date To: 01/24/2013
 Charges
 = = = = == = == = = == = = = == = == = == = M = = = == == = = == = == = == = = == == = = = == = = == = == = = == = == = == = == = =
  Service
  D               Cost               Rev .        Proc.                 Description                                                    ====
                                                                                                                               Qty . Amount
   ate            Ctr .              Code         Code
 = == == = == = = = == = = == = == = == = = = == = = == == = = == = == = == = == = = == = = == = == = = == = == = = = == = == = == = = = =
Professional Charges
 01 24 13                                         99214                OFFICE OUTPT VISIT , EST ,L                               1          270 .00
       Total professional charges'
                                 .                                                                                                          270 . 00

Pa     ents
= = = == = = == = = == M = = == = =- = = -- - - - -- - =- - =- - == - = == = == = == = - == - - -- -- = - - -- = == = -= = = = =- * -= - œ
  Post Date                                            Recd . From                                                                         Amoun t
  --   - -- - - == - - -- -- -- - - --   -   = = = == = -= = =M - = -- - --   - - - - - - - - - -   = - -= = =- = = =- - == = - -= - --   - -
Professional Pa               ents                                                                                                              ===--
 02 14 13                                              MEDICAID                                                                             -
                                                                                                                                                39 .4 6
       Total rofessional                     a    ents :                                                                                    -
                                                                                                                                                39 .46

Adjustments
= == = == = = = == = == = = = == = == = = = = == = = == = == = == = == = ==
                                                                             m == = = M == = == = = == = == = == = = = == = == = = = == = =
  Post     Date                   ,                  Adj.     For                                                                Amount
= = = == = = = == = == = = == = = == = = == = = = == = = == = == = == = = == == = = =M = = = == = == = == = == = = == = = == = = == = = ==
Professional Adjustments
 02/14/13
 02/15/13                                             MEDICAID
                                                      ADJUSTMENT                                                                          -228. 54
                                                                                                                                                -
                                                                                                                                                    2 .00
       Total professional adjustments:                                                                                                    -230        .   54


Total balance:                                                                                                                                      0 . 00
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 6 of 22



 UHEALTH
 University of Miami Health Systems
 P .O . Box 402005
 Atlanba, GA 30384-2005
 Ph :
 A ccount ID




 Detailed Bill For
Patient Name:
Account Class :                               Outpatlent                                 Service Date From: 08/28/2012
Attending Physician :                                                                    Service Date To: 08/28/2012
 Charges
 == = = == = == = == = = == = = = == == = == = = == = M = == = == = = == = = === = = = == = == == = == = = == = = == == = == = = == = = =
  Service            Cost               Rev . Proc.                     Description                                     Qty. Amount
  Date               Ctr.               Code      Code
= = = == = == == = = == = = == = = == = == = = == = == = = == = = == = = == = == = == = == = == = == = == = = == = = == = == = == = = ==
Professional Charges                                                                                     .
  08 28 12                                        99215               OFFICE OUTPT V ISIT /EST ,L                        1        360 .00
        Total professional charges:                                                                                               360 .00

Pa      en ts
  - - - - - -   = = = = == == == = - -- -- - -- - - - -- - -- - - - -- -- = = = =- -M - -- - - -= -= = = == = - == = - -- - -- - -- - - -- -
  Po st Date                                           Rec . From                                                                 Amount
Professional Pa                  ents
  10 05 12                                             MED ICA ID                                                                 -58 .28
        Tatal professional pa                     ents'
                                                      .                                                                           -58.28

Adjustments
-
- -
  = = == = == = = == = = == = = == = == - - -= = = == = == = = =-
  -                                                             .-. = == = == == * = == = = == == = = == = = == = = == = = >= == = = = =

-
 Pcst Date                                        Adj. For                                                                    Amount
- -
  - -
    - -
      - --
       = == = = == = = =- = = = == = == - - --
                                             . = == == = = = == = == = = = == == c= = = = == = == = = == = = == = == = = m= = == = = = =
Professional Adjustments
  10 05 12                                            MEDICA ID                                                                 -299 .72
  10 06 12                                            ADJUSTMENT                                                                  -2 .00
        Total professional adjustments:                                                                                         -301.72

Total balance :                                                                                                                      0.00
    Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 7 of 22



     UHEALTH
     University of Miami Health Systems
     P .O . Box 402005
     Atlanta, GA 30384-2005
     Ph :
     Account ID                                                                     Guarantor N me & Address



    Detailed Bill For
    Patient Name :
    Account Class:                                  Outpatient                                         Admission Date :
    Attending Physician:                            CARPINTERO , M ARIA F .                            Discharge Date :
                                                                                                                                          06/28/2012
                                                                                                                                          06/28/2012
    Charges
    --   = * -= - == - = -= = -= - = = -= = -= = == == = = == = == = -= = - -= = =- * =- = == = = == - == - ==
         Service        Cost               Rev .   Proc .                Descri tion                         =====-======*-    ==-=
                                                                                                                        ty . Amount
         Date           Ctr .
                                           Code    Code
    == = = = == = == = = == = = = = == == = == = M = == = = == = = == == = = == = == = == = = = === = = == = = == ==
    Hospital Charges                                                                                                 ==============
      06/28/12          4030              0636         130700636              KETOROLAC 60 MG/ZML SOLN                                    4          36
     06/28/12           2020              0305         600700943             ESR                                                          i             .
                                                                                                                                                          00
     06/28/12           2020              0301         107702791             TSH                                                                      66.00
     06/28/12           2020              0301         107700755             COMPREHENSIVE METABOLIC                                      1
                                                                                                                                          l         207.00
     06/28/12           2020              0301         107700803             CPK                                                                    712.00
     06/28/12           2020              0301         107702953             VITAMIN b, 25 -HYDROXY LE                                    i
                                                                                                                                          l
                                                                                                                                                     74.00
                                                                                                                                                    554 . 00
     06/28/12           2020              0300         501702561             VENIPUNCTURE
                                                                             AUTOMATED CELL OUTPATIEN                                     1          30 . 00
                                                                                                         -
     06/28/12           2020              0305         107700035                             COUNT                                        1
     06/28/12           2020              0302         107700529             C REACTIVE PROTEIN
                                                                                -
                                                                                                                                          l         189.
                                                                                                                                                    175 . 00
     06/28/12           2020              0306         107701439             HEPATITIS B SURFACE AG                                       1         1     00
     06/28/12           2020              0302         600701189             HEPATITIS B CORE AB TOTA                                     1          81.00
     06/28/12           2020              0307         107702903             URINALYSIS                                                   1         141.00
     06/28/12           2020              0307         107702903             URINE MACROSCOPIC CREDIT                                                55.00
     06/28/12           2020              0302         600700901             HEP B SURFACE AB QUANT                                   -
                                                                                                                                          1         -S5.00
     06/28/12           2020              0302         107701451             HEPATITIS C ANTIBODY SCR                                     1         227.00
     06/28/12           2020              0307         1077029û1             URINE MICROSCOPIC                                            1         504.00
     06/28/12           1025              0510         501700463             HCHG CLINIC LEVEL 2 NEW                                      1         140.00
                                                                                                                                          I         129 .00
            Total hospital charges :                                                                                                           3 365 .00
                                                                                                                                                ,


Pa          ents
    post Date                                                 Recd . From                                                                        Amount
-         - - - -= = == == =    ==   -=   - =-   - - - -   = - - =- . -- - - -- - = == == = -=   - -   = -- - -- - -- = - -= - -= -   - - -
Hospital Pa                ents                                                                                                               ==-==----
    07 16 12                                                  MED ICA ID                                                                        -
                                                                                                                                                    450.59
            Total hospital pa               ents :                                                                                              -
                                                                                                                                                    450 .59
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 8 of 22



Hospital Adjustments
 07/05/12                       MEDICAID                                          -
                                                                                    129 .00
 07/16/12                       MEDICA ID                                    -   2 ,428 .45
 07/16/12                       MED ICAID                                         - 323 .96
 09/18/12                       M EDICAID                                           -
                                                                                      30 .00
 09/18/12                       M ED ICAID                                            -
                                                                                        3 .00
    Total hospital adjustments:                                              -
                                                                                 2 ,914 .41


Total balance :                                                                       0
                                                                                          .   00
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 9 of 22




 UHEALTH
 University of Miami Health Systems
 P .O . Box 402005
 Atlanta , GA 30384-2005
 Ph :
 Accou t ID                                                                   Guarantor Name & Address




 Detailed Bill For
Patient Name:
Account Class :                             Outpatâent                                             Service Date From: 06/28/2012
Attending Physician :                                                                              Service Date To: 06/28/2012
 Charges
 == = = == = == = == = == = = = = == == = = = == = == = = = == == == = = = == == = == = = = == == = = = == == = = == = = == = == = = = ==
  Service         Cost               Rev . Proc .                             Description                                              QLy .           Amount
  Date            Ctr.               Code Code
= = == = == = == = == = = = == = = == = == = = = == = = == = == == = = == = == = == = = == = == = = == = = == = =X = == = = == = = == = =
Professional Charges
  06 28 12                                      99215                       OFFICE OUTPT VISIT , EST ,L                                   1            360 .00
       Total professional charges '
                                  .                                                                                                                    360 . 00

Pa     ents
= == = = == = = == = == = == = = = = =- = == - *
                                               - --   -
                                                      - -
                                                        -   = = = - = -- = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = -
                                                                                                                                     **- --   -
                                                                                                                                              -   = == = = = == =
  Post Date                                            Recd . From                                                                                    Amount
== - - -- = == = == = = = -= == -- - -= - - - -- - - == == = = == = == = == = = == = =- - -- - - =* * - -- - -- - -= = = = == == = = = =
Profeasional Pa              ents
  07 16 12                                             MED ICA ID                                                                                        0 . 00
  08 06 12                                             MED ICAID                                                                                       -58 . 28
       Total professional pa                   ents :                                                                                                  -58 . 28

Adjustments
= = = = == = == = = == = = == = = == = = == = = = == = == = = == = == = == = == = == = == = = == = == = = == = = == = == = = = == = = == =

 Post Date                    Adj. For
= = = = == = == = = == = = == == = = = = == = = == = = == == = = == = == = = == = == = == = = == = == = = == = == = = == = = = == == = = =
                                                                                                                                                      Amount
Professional Adjustments
 08 06 12                     MEDICA ID                                                                                                              -299 . 72
 08/07 12                     ADJUSTMENT                                                                                                                -2.00
    Total profeasional adjustments:                                                                                                                  -301.72

Total balance :                                                                                                                                           0 . 00
      Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 10 of
                                            22


  UHEALTH
  University of Miami Health Systems
  P .O . Box 4:2û05
  Atlanta , GA 30384-2005
  Ph :
  Accoun t ID
                                                                                           r ntor               & Address



  Detailed Bill For
 Patient Name :
 Account Class:                                       Outpatient                                       Admission Date :
 Attending Physician :                                LO ZADA , CARLOS J .                             Discharge Date :
                                                                                                                                             04/24/2012
                                                                                                                                             04/24/2012
  Charges
  =- = - === = - = -
                   - = == - = == = = = =- -= = = = == == = = == = =
                                                                    == - =- = - == == = = = =œ -= = = -- == = == = = ==
      Service        Cost             Rev . Proc.                     Description                                =-====-====
                                                                                                                Qty
      Date           Ctr .            Code Code
                                                                                                                    . Amount
 = = = == = == = = == = M == = = == = = == == = = =M                                                       l
                                                     = == = = == = == == == = == = == = = == = == == = =
 Hospital Charges                                                                                        ==%=========M======
   04/24/12            2080                0324            501700423           CHEST 2 VTEWS                                                         495
   04/24/12           2020                 0305            107700749           COMPLETE BLOOD COUNT (CB                                             1 . 00
   04/24/12           2020                 0301            107700755           COMPREHENSIVE METABOLIC                                              723.00
   04/24/12           2020                 0305           600700943           ESR                                                                     12.00
   04/24/12           2020                 0301           107700803           CPK                                                                     66.00
  04/24/12            2020                0301            107702791           TSH                                                                   274.00
  04/24/12            2020                0300            501702561           VENIPUNCTURE OUTPATIEN                                                  07.00
  04/24/12            2020                0301            107700101           ALDOLASE                                                              130.00
  04/24/12            2û20                0302            107700529           C-REACTIVE PROTEIN                                                    118.00
  04/24/12            2020                0302            600700541           COMPLEMENT C4                                                         175.00
  04/24/12            2020                0302            107700343           ANTI NUCLEAR ANTIBODY                                                 194.00
  04/24/12            2û20                0302            107700741           COMPLEMENT C3                                                         139.00
  04/24/12            1025                0510            501700461           HCHG CLINIC LEVEL 2 EST                                               186.00
  04/24/12            2020                0302            107700225           ANTI JO1 AB                                                           223.00
  04/24/12            2020                0302            107700959           ANTI DS DNA                                                           165.00
  04/24/12            2020                0302            107700221           ANTI CENTROMERE AB                                                      81.00
  04/24/12            2020                0302            107701091           EXTRACTABLE NUCLEAR AG                                                187.00
                                                                                                                                                    455 .00
         Total hospital charges :                                                                                                              3
                                                                                                                                                   , 73 0 .00

Pa      ents
- -     - - - a - - - -   = - - .- = == = - - -   - - -   =- = == = = = =w =- - -- =   -   == = = =   - -- - - -- -- - - .- . -- = = - - -- = -- - - =-    -
 Post Date                                                    Recd . From                                                                          Am oun t
--     - -- -= - - - -- - - == == =       = =- - -- = = == = = =- - -= -
                                                                             - - - - - -    = == = =- - = -- - - =-   - -   = = -= = = --
Hos ita          Pa        ents                                                                                                             --------
                                                                                                                                                   -==-
 05 25 12                                                     MEDTCAID                                                                         -
                                                                                                                                                   448 .59
        Total hospital pa                    ents :                                                                                            -
                                                                                                                                                   448 .59
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 11 of
                                      22


Hospital Adjustments
 05/06/12                      M EDICAID
 05/25/12                                                                        -
                                                                                    123 .00
                               MEDICA ID                                    -
                                                                                2 ,778 .95
 05/25/12                      M EDICAID
 08/08/12                      M EDICAID
                                                                                  -
                                                                                    346 .46
 08/08/12                      MEDICA ID
                                                                                      -
                                                                                        3 .00
                                                                                    -
                                                                                      30 .00
   Total hospital adjustments:                                              -
                                                                                3 ,2 81 .41

Total balance:
                                                                                     0 .00
    Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 12 of
                                          22


    UHEALTH
    University of Miami Hea1th Systems
    P .O . Box 402005
    Atlanta, GA 30384-2005
    Ph :
    Accoun t ID                                                           Guarantor Name & Address




 Detailed Bill For
 Patient Name :
 Account Class:                              Outpatzent                                      service Date From: 04/24/2012
 Attending Physician :                                                                       Service Date To: 04/24/2012
 Charges
 == = = == == = = = == = == = == = == = == = = == = == = = == = = == = == = = == == = = = == == = == = == = == == c = == = = == = == =
         .                                                                    .    .                                      '            =
    ServAce
    D               Cost              R ev .    Pro c .                  Description                                         Qty . Amount
     ate            Ctr .             Code      Code
 == = = == == = = == = == = == = == = == = = == = = == == = = = =M == = == = = = M= = == = == = == = == == = == M = == = = = ==
 Professional Charges                                                                                                                    =====
  04 24 12                                      99215                  OFFICE OUTPT VISIT , EST ,L                                   360 .00
         Total professional charges'
                                   .                                                                                                 360 . 00

Pa       en ts
*
- -
  -   = =- = -= = = == = == - -= = = == = - =- =M = = == * = == = = == = =- = -= = = == = -= = == = = == = =- * -= œ == = = =- = = == == =
    Post Date                                        Recd . From                                                                     Amoun t
-
-   == - = M= = = == = == - = == == = = - == = == = == - = == = = ==
                                                                       = = = = = = = = = -- = - = = = = = = = = = -
                                                                                                                  -
Professional Pa                ents                                                                                   ====V==============
    05 07 12                                         M ED ICA ID                                                                       0
    08 06 12                                         ME                                                                                  . 00
                                                        DICAID                                                                       -58 . 28
         Total professional pa                  ents :                                                                               -
                                                                                                                                         58.28

Adjustments
= - == = = == = = -= = -= = == = == = = == = = == = == = = = ==    -= = -= = - == == -= - -= = == = =- = = -- == = = =- - = = -= = =- = --
  Post Date                                                  Adj. For
= = = = = = = = = = = - = = = = = - = = - = = = = = - - = *- - = = = = = - = = = = = = = = = = = = - = = = = = = = = = -
                              -
                                                                                                                                       Amount
                                                               -                                              -
Professional Adjustments                                                                                                 ======-
                                                                                                                               -======M======
 08 06 12
 08 07 12                                           MEDICA ID                                                                    -   299.72
                                                    ADJUSTMENT                                                                        -2 . 00
        Total professional adjustments:                                                                                          -301      .   72


Total balance :                                                                                                                          0 . 00
  Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 13 of
                                        22


 UHEALTH
 University of Miami Health Systems
 P .O . Box 402005
 Atlanta, GA 30384-2005
 Ph :
 Account ID                                                                      r n      r           & Address




 Detailed Bill For
 Patient Name :
 Account Class :                              Outpatient                                      Service Date From : 04/24/2012
 Attending Physician :                                                                        Service Date To: 04/24/2012
 Charges
 = = == == = = == = = == == = = == == = = = = == = == = = = == = == = == = == == = == == = == == = = =0 = == = == = = = == == = = == = =
  Service
  D               Cost                 Rev . Proc .                    Description                                         QLy .     Amoun t
    ate           Ctr .                Code Code
 = == == = = == = = == == = == = = == = == = = == = = == = = == = = == = == = == == = = = == == = == = = = =M == = = == = == = == = = ==
Professional Charges
  04/24/12                                       71020               CHEST X-RAY 2 VW                                                  55.00
       Total professional charges'
                                 .                                                                                                     55.00

Pa     en ts
                   - - -   = =- -- = - -- - == = - -- = = -- - = = -- -=   -   = - = = -- -- = == = = -- = = -- - - -                   - - - -
  Post Date                                          Recd. From                                                                      Amount
= == = = == = == = == = = == - -- = = -- - = = =- - == - - - -= œ -- -          - -= = =- - --    = =- -- = = =- - - == = -- = - =- =- - == - -
Professional Pa                 ents
  05 11 12            .                              MED ICA ID                                                                        -4 . 07
       Total       rofessional pa               ents'
                                                    .                                                                                  -4 . 07

Adjustments
= = == = = == = == = = == == = = == = M == = = == = = == = = == = = == == = = == =M = = == = = == = == = MM = = == = =V = -
                                                                                                                            = = == = == =
  Post     Date                                     Adj.     For                                                               Amount
== - = == = - -= = =- = = == == = = == = = == = = == = = == = = = == == = =- = == = == = = == = = == == = = V= = == = = == = == = == = =
                                                                                  -

Professional
  05 11 12
                      Adjustments                   MED ICA ID                                                                  -48
 05                                                                                                                                      . 93
      12 12                                          ADJUSTMENT                                                                       -2 . 00

      Total professional adjustments'
                                    .                                                                                                -50.93

Total balance :                                                                                                                         0 . 00
  Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 14 of
                                        22


  UHEALTH
  University of Miami Health Systems
 P .O . Box 4 02005
 A tlanta, GA 30384 -2005
 Ph :
 Account ID                                                           Guarantor Name & Address




 Detailed Bill For
 Patient Name :
 Account Class:                             Outpatient                                 Admission Date :
                                                                                       Discharge Date:                   09/22/2011
 Attending Physician :                      LOZADA , CARLOS J .                                                          09/22/2011
 Charges
 = = - --= = = == = = == - == = == = = == = -
                                            - = == == = = = -- = == = == = == = - == = = == =-
                                                                                             . = == - = == == = = == = = == = == = = == =
         .
  Servlce
  D               Cost               Rev . Proc .                     Descriptlon
                                                                           : .                                           ty .' Amount
    ate           Ctr .              Code Code
 Hospital Charges
  09/22/11         2080              0324      501700423            CHEST 2 VIEW S                                        1      471 .00
                                                                                                                                 '
  09/22/11         2020              0305      107700749            COMPLETE BLOOD COUNT (CB                              3.     117 .00
  09/22/11         2020              0305      600700943           ESR                                                    1        63 .00
  09/22/11         2020              0301      107700755           COMPR EHENS IVE METABOLIC                              l      678 .00
  09/22/11         2020              0307      107702901           UR INE MICROSCOPIC                                     1      133 .00
  09/22/11         2020              0307      107702903           URINALYSIS                                             1        52 .00
  09/22/11         2020              0302      107700529           C -REA CTIVE PROTEIN                                   1      167 .00
  09/22/11         2020              0307      107702903           UR IN E MACROSCOPIC CRED IT                         -
                                                                                                                          l      -
                                                                                                                                   52 .00
  09/22/11         2020              0302      107701091           EXTRACTABLE NUCLEAR AG                                 1      433 .00
  09/22/11         2020              0302      107700343           ANTI N UCLEAR ANTIBODY                                1       132 .00
  09/22/11         1025              0510      501700461           HCHG CLINIC LEVEL 2 EST                               1       117 .00
  09/22/11         2020              0302      107700221           ANTI CENTROMERE AB                                    1       178 .00
  09/22/11         2020              0302      107700225           AN TI JO1 AB                                          1       252 .00
  09/22/11         2020              0302      107700959           ANTI DS DNA                                           1       172 .00
  09/22/11         2020              0302      107700195           ANA M IXED PATTERN                                    1-        79 .00
       Total hospital charges:                                                                                                 2, 992 .00

Payments
= = = == = = == == = = = = == == = = = == = = = == = e= = == = = = == = == = == = == = = == = == = == = = == = = == == = = = = == M == = =
 Post Date                                         Recd . From                                                                   Amount
= = = == = = == = = = == = == = = == = = == = = = == = == = == = = == = == = = == = == = = == == == == = =
                                                                                                             = == == = == == = = == = = ==
Hospital Payments
 10 06 11                                          MEDICAID                                                                     -293 . 60
 10/31/11
 10 31 1                                           MEDICAID                                                                      293 . 60
         1                                         MEDICAID                                                                     -425 . 86
      Total hospital paymenta :                                                                                                -425 . 86
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 15 of
                                      22



Hospital Adjustments                                                             -
                                                                                   117 .00
 09/29/11                     MEDICAID                                      -
                                                                                2 ,194 .14
 10/31/11                     MEDICAID                                              - 3 .00
 01/05/12                     MEDICAID                                           - 2s2 .oc
 01/05/12                     MEDICAID
    Total hospital adjustments)
                                                                            -
                                                                                2,566.14


Total balance :
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 16 of
                                      22



UHEALTH
University of Miami Health Systems
P .O . Box 402 005
A tlanta , GA 30384 -2005
Ph :
Account ID                                                                      Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Class:                                    Outpatient                                        service Date From: 09/22/2011
Attending Physician )                                                                               service Date To: 09/22/2011
Charges
= == = = == == = = = == = == = = == = c == = = == = = == = == = == = = == == = = == = = == = == == = = == = = == = == = == = = == = = ==
    Service         Cost                  Rev . Proc.                           Description                                             Qty . Amount
    Date            Ctr .                 Code        Code
== = = = == == = = == = = == = = == = = == = = = == = == = == = == = = == = == = == = = == = == == = = = == M == = == = = == = = == = ==
Professl'onal Charges
    09/22/11                                          99214                   OFFICE/OUTPT VISIT,EST/L                                    1         270.00
         Tobal professional charges.
                                   .                                                                                                                270.00

Pa       en ts
œ
-   = = = == =- - - -= = == = = = =- = = =- - - = M= = == -- - - == = =- - -= = = == = -- - = *= = =- -- = -= = = == =- - - -= = == = = = =
    Post Date                                               Recd . From                                                                             Amount
= = = = == == = = == = == - - - == = = -= = = = == = === = = = == = == = = == = == - == = = = == == == = = == = == == = = = == = -= = = =
Professional Pa                   ents
    10 10 11                                                MED ICA ID                                                                              -39 .46
         Total professional pa                        ents:                                                                                         -39.46

Adjustments
== = *
     - = = = = = = = = = -- - = = = = = = = = = = = - - - = = = = = = = = - -- = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = - - -- =

 Post Date
== = - = == = =- = = == = = =- - *
                                                            Adj. For
                                      - == = == = = = == = =- = == = = == = == = == = - -= = = == = =- -= = = == = -- - == = = == = -- = = = =
                                                                                                                                                     Amount
Professional
 10 10 11
                        Adjustments                         MEDICAID                                                                               -228.54
    11 24 11                                                ADJUSTMENT                                                                                -2 .00

        Total professional adjustments:                                                                                                           -230.54

Total balance :                                                                                                                                         0.00
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 17 of
                                      22



UHEALTH
University of Miami Hea1th Systems
P .O . Box 402005
A tlanta , GA 30384 -2005
Ph :
Account ID                                                                  Guarantor             me & Address




Detailed Bill For
Patient Name :
Account Class :                                Outpatient                                      service Date From: 09/22/2011
Attending Physician :                                                                          service Date To: 09/22/2011
Charges
= = = = == == = = =c = == = = == = == = == = = = = == == = == = = == = == = == = = == = == = == = == = = == = = == = == = == = = == = = =
  Service           Cost               Rev . Proc.                          Description                                          Qty . Amount
 Date               Ctr.               Code        Code
= = = == = == = == c = == = == = == = = == = = = == = == = = == = == = == = == = = == = == = == = == = = == = == = = == = = == == = = = =
Professional Charges
  09 22 11                                         71020                  CHEST X -RAY 2 VW                                        1          SS .00
        Total professional charges:                                                                                                           55.00

Pa      en ts
- - - - -   = - -- - - -- - = == = =- - - =. . - =. . - -- -- - - - - .- -- . - -- . =- -= = - =- = == - -- = = -= = .- - -- - -- . -- - --
 Post Date                                              Recd . From                                                                         Amount
== = = == = == = = = -
                     - = = == = == -
                                   - -
                                     - *
                                       - -
                                         - -
                                           - -
                                             - -
                                               - -
                                                 - -
                                                   - -
                                                     - -
                                                       - -
                                                         - -
                                                           - -
                                                             - -
                                                               - -
                                                                 - -                       - - - = = = = - - - -- = - = - - - - - - - - - - - - - - - =
                                                                   - = = = == = == = = == =-

Professional Pa                 ents
  10 07 11                                              MEDI        ID
        Toeal professional pa                      ents '
                                                        .                                                                                     -4 .07

Adjustments
== - - == = = == =- =- = == = = == = == = = == = = =- == = = == = - -- - == = = == = == = == = == = == = == = = == == = = -- = == = = =
 Post Date                                          Adj. For                                                                  Amount
== = = == = == = == = = = == = -- = =- = - = == = - == = == = = == = == = == = == - -- = - -- - =- = - -- =- - = == == = = == = =- - = -

Professional
 1 0 07 11
             Adjustments                                MEDICAID                                                                            -48 ,93
 11 24 11                                               A DJUSTMENT                                                                          -2 .00

       Total professional adjustments'
                                     .                                                                                                      -50.93

Total balance :                                                                                                                                 0.00
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 18 of
                                      22



 UHEALTH
 University of Miami Health Systems
P .O . Box 402005
A tlan ta , GA 30384 -2006
Ph :
                                                                        arant r N m            & Address




Detailed Bill For
Patient Name :
Account Class:                             Outpatient                                 Admission Date :                 07/29/2011
Attending Physician :                      LO ZADA , CAR LOS J .                      Discharge Date:                  07/29/2011
Charges
= == = = == = == = = == = == = == = = = == = = == = = == == = = == == = == = == = = == = = = == = == == = == = = == = == = = = == = = ==
  Service        Cost               Rev . Proc .                     Descrip tion                                    Qty . Amount
  Date           Ctr .              Code Code
= = = == = = == = == = = = == = == = = == = = = == = = == == = == = == = == = == = = == = = == = = === = = = == = == = = == = = == = = ==
Hospital Charges
  07/29/11         2020             0301      107700419            BASIC METABOLIC PROFILE                                     474.00
  07/29/11         2020             03OS      600700943            ESR                                                          63.00
  07/29/11         2020             0302      107700529            C-REACTIVE PROTEIN                                          167.00
  07/29/11         2020             0305      107700749            COMPLETE BLOOD COUNT (CB                                    117.00
  07/29/11         2020             0300      501702561            VENIPUNCTURE - OUTPATIEN                                     29.00
  07/29/11         2020             0302      107700343            ANTI NUCLEAR ANTIBODY                                       132.00
  07/29/11         2020             0302      107701091            EXTRACTABLE NUCLEAR AG                                      433.00
  07/29/11         1025             0510      501700463            HCHG CLINIC LEVEL 2 NEW                                     123.00
  07/29/11         2020             0302      107700221            ANTI CENTROMERE AB                                          178.00
  07/29/11         2020             0302      107700343            ANTI NUCLEAR ANTIBODY TI                                    132.00
  07/29/11         2020             0302      107700225            ANTI JO1 AB                                                 252.00
  07/29/11         2020             0302      107700959            ANTI DS DNA                                                 172.00
  07/29/11         2080             0320      501702457            HAND 2 VIEWS RT                                             591.00
  07/29/11         2080             0320      501702470            KNEE AP LAT LT                                              835.50
       Total hospital charges :                                                                                            3,698 .50

Payments
== = = = == = == = = == = = = == == = = = = == = == = == = == = = == = == = == = = == = == = = = == == = == = == = = = == = = == = = = ==
 Post Date                                         Recd. From                                                                  Amount
= = = == = = = == == = = == = = == = = = = == = == == = == == = = == = == = == = = = == == == = == == = == = = == = = == = = == = = == M
Hospital Payments
 08/19/11                                          MEDICAID                                                                  -296.12
 09/13/11                                          MEDICAID                                                                   296.12
 09/13/11                                          MEDICAID                                                                  -282.83
 10/31/11                                          MEDICAID                                                                   282.83
 10/31/11                                          MEDICAID                                                                  -415.09
      Total hospital payments.
                             .                                                                                              .-415.09
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 19 of
                                      22



== = = == = == == = == = = == = = == == = = = == = == = = == = = == == = = = == == = = == == = = =M == = == = = == = = == = == = == = =

Hospital Adjustments
 08/05/11                     MEDICAID                                                                                    -123.00
 10/31/11                     MEDICAID                                                                                  -1,911.91
 07/18/12                     MEDICAID                                                                                     -29.00
 07/18/12                     MEDICAID                                                                                    -384.00
 07/18/12                     MEDICAID                                                                                    -835.50
    Total hospital adjustments:                                                                                         -3,283.41

Total balance :                                                                                                                 0 .00
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 20 of
                                      22



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta , GA 30384-2005
Ph :
Acc        n t ID                                                               Gu rantor Name & Address




Detailed Bill For
Patient Name:
Account Class:                                    Outpatlent                                        service Date From: 07/19/2011
Attending Physician :                                                                               Service Date To: 07/29/2011
Charges
== = == = = == = == = == = = = == = = == = == == == = = = == == = == == = = == = = == = = == = = == = == = == = == = == = == = = = = ==
  Service           Cost                  Rev . Proc .                          Description                                             Qty . Amount
  Date              Ctr .                 Code        Code
= = = == == = = == = = == = = == = == = = == = == == = = == = == == = == = = == = == = = = == = == = = == = == = == = = == = == = = = =M
Professional Charges
  07/29/11                                            99244                   OFFICE CONSULTATION,LEVE                                              560.00
         Total professional charges:                                                                                                                660.00

Pa       ents
- - -   = -- - - -= = = -- - = -- - - =- - - -- = = = -- - -- - - --= = - -- - -- - -- - = -- - -- = = = -- - -- -- - = =- - -= = = -- = = =
  Post Date                                                 Recd . From                                                                             Amount
= = -- = - - œ = = = = - - = = - - - = = = = - = = = = - * - = = - * * = = = = - - = = = = - - = = = = - - - = = - - - - = = = * = - = = = - - = = - - - = = = *
Professional Pa                   ents
  08 16 11                                                  MEDICAID                                                                                -98 .62
         Total professional pa                        ents :                                                                                        -98.62

Adjustments
= = = - == = == = - = == - == = = == = = == = = = == = == = = == == = == = = == = == = == = = -- = = = == - -= = == -= = = -
                                                                                                                           * A= = = =- = =
  Post Date                                          Adj. For                                                                   Amount
= = = = == = == = == == == = - - = == = == = = = =- = == = * -= == = -- = = == ** = = == - = == = = - -== == = =- == = = XX = = - == = =
Professional
 08 16 11
             Adjustments                                    MRDICAID                                                                              -4 59 .38
 11 24 11                                                   ADJUSTMENT                                                                               -2 .00

         Tctal professional adjustments:                                                                                                          -461.38

Total balance :                                                                                                                                         0 .00
Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 21 of
                                      22



UHEALTH
University of Miami Health Systems
P .O . Box 402005
Atlanta , GA 30384 -2005
Ph :
A ccount ID                                                                     Guarantor Name & Address




Detailed Bill For
Patient Name :
Account Classl                                   Outpatlent                                         Service Date From: 07/29/2011
Attending Physician :                                                                               service Date To: 07/29/2011
Charges
= = == = = = == = == == = = = = == == = == = = == = = == = = == = == = == = = == = == = == = = == == = == = = = == = == = = == = == = = =
  Service          Cost                  Rev . Proc .                           Description                                             Qty . Amount
  Date             Ctr .                 Code         Code
= = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = '= = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = = =
Professional Charges
 07 29 11                                             73130                   X-RAY HAND 3+ VW                                                        45.00
 07 29 11                                             73130                   X -RAY HAND 3+ VW                                                       45 .00
       Total professional charges :                                                                                                                   90.00




Adjustments
= = = == = = == = = == = = == = = == = = == = == = == = = == = == = = = == = == = == = = == == = = == = == = == = == = = == = == = M= = =
  Post Date                                                AdJ'. For                                                                                Amöunt
== = = == = = == = == = = == = = == == == = = == == = = = == = == = == = = == = == = = == == = = == = M= == = = == = = = == = == = == =

Professional Adjustments
 08/22/11                     MEDICAID                                                                                                              -40.30
 08/22/11                     MEDICAID                                                                                                              -40.30
 11/24/11                     ADJUSTMENT                                                                                                             -2.00
    Total professional adjusLments:                                                                                                                 -82.60

Total balance :                                                                                                                                         0.00
   Case 1:13-cv-22500-CMA Document 15-16 Entered on FLSD Docket 12/10/2013 Page 22 of
                                         22


   UHEA LTH
   University of Miami Health Systems
  P.O . Box 402005
  Atlanta, GA 30384-2005
  Ph :
             t ID
                                                                                                    & Address



  Detailed Bill For
  Patient Name )
  Accoun t Class :                              Outpatient                                Service Date Fr
 Attending Physician:                                                                     S              om : 07/29/2011
                                                                                           ervice Date To: 07/29/2011
  Charges
 = = = == = == = = == = == = = == = == = == = = = == = == = = == = =
                                                                     = = == = == = == = = == = == = = ==
   Serviee         Cost                 Rev .     Proc.                  Description                       ====================
                                                                                                                   Qty . Amount
   Date            Ctr .                Code      Code
 == = = = == = == = = == == = == = = == = == = == = = ==                                                                  '
                                                         = = = == = == == = == = = == = == = = = == == = = == == = == = = = =
 Professional Charges                                                                                                         = == = = ==
   07/29/11                                       73562               X RAY KNEE 3 VIEW
                                                                         -
                                                                                                                          1                 50 .
   07/29/11                                       73562               X RAY KNEE 3 VIEW
                                                                         -
                                                                                                                          1                 50 . 00
                                                                                                                                                 00
        Total professional charges ..
                                                                                                                                        1 00 .00
 Pa    ents
 = =- = = -= -
             - = =- =* = = == = == = == = = = =
                                                - = =- = - == - =- - =- = =* = -- = - =- - = -= - - -- = == = -= = =
 Post Date                                  Recd . From                                                                =-======*==-=
                                                                                                                              Am
====-
    - == - =-
            -==-
               -==-
                  - =-
                     -==-
                        - =*
                           - --= *- = = - = = = = *- = = = = = = = = = = M = M = = = = = = = = = = = = = = = = = = = = = =       ount
Professional Pa               ents                                                                                        =======-
                                                                                                                                 -===
  08 22 11                                            M ED ICA ID
                                                                                                                                        -
                                                                                                                                            10 .18
       Total       ro essional pa                ents:                                                                                  -
                                                                                                                                            10 .18

Adjustments
= = = = == = == = == = = == = = ==
                                     = = == = = == = = == = = == = == = -
                                                                        - = = == = = == - == = = == = == = = = ==
 Post Date                    Adq . For                   :                                                       == = == = % == == = == = =
                                                                                                                               .'   A
===================================== = = = = = m = = = = = = = = = = = = = =                                                               mount
Professional Adjustments                                                                            = == = == = = == = == = = =W.   == = = ==
 08 22 i1                                            MED TCAID                                                                  ' -
 08 22 11                                            MEDICAID                                                                           44 .91
                                                                                                                                    -   44 .91
      Total professional adjustments:                                                                                               -
                                                                                                                                        89 .82

Total balance :
                                                                                                                                            0.00
